          Case 2:11-cv-01902-ILRL-ALC Document 9 Filed 02/14/12 Page 1 of 2



                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

CALL DOCKET                                                                       SECTION “B”

The following cases will be called on Thursday, MARCH 1, 2012 at 9:00 a.m., before
Judge Ivan L. R. Lemelle. Failure of plaintiff’s counsel to report the status thereof, or in the absence
of good cause shown why the cases should remain on the docket, they will be DISMISSED.

QUESTIONS CONCERNING THE CALL DOCKET WILL NOT BE ACCEPTED LESS THAN
24 HOURS BEFORE THE CALL DOCKET. ALL QUESTIONS MUST BE IN LETTER FORM,
ADDRESSED TO THE CASE MANAGER. THE LETTERS MAY BE FAXED TO (504) 589-
7623.  Case Manager: Isidore Grisoli (504) 589-7747


10-2747        PLUMBERS AND STEAMFITTERS LOCAL 60, ET AL. V.
               GLOBAL TECHNOLOGIES, LLC
               No service on defendant J.W. Ewing.
               No answer filed by defendant Global Technologies 2 LLC - Answer due 9/19/2011.

11-1254        ADOBE ENERGY CO. ET AL V. DELCO OHEB ENERGY LA , LLC ET AL
               Summons & complaint served on both defendants.
               Answers were due Dec. 5 & 6, 2011 - No answer filed by either defendant.

11-1595        KAIGLER V. MEDTRONIC INC ET AL (Was thought to be MDL related.)
               No service on any defendant, and no answer filed by any defendant.
               Complaint filed on July 7, 2011.

11-1682        DENNIS ANDERSON V. STATE FARM FIRE AND CASUALTY COMPANY
               Answer was due Dec. 29, 2011 - No answer has been filed by the defendant.

11-1702        ERNEST MORRIS V. STATE FARM FIRE AND CASUALTY COMPANY
               Answer was due 1/27/2012 - No answer filed by the defendant.

11-1703        VANESSA MORRIS V. STATE FARM FIRE AND CASUALTY COMPANY
               Answer was due 1/27/2012 - No answer filed by the defendant.

11-1724        INSURANCE COMPANY OF THE STATE OF PENNSYLVANIA V.
               TRAVELERS PROPERTY & CASUALTY COMPANY
               No answer by defendant Travelers Property & Casualty Company.
               Answer was due on November 1, 2011.

11-1750        WESLEY THIBODEAUX V. STATE FARM INSURANCE COMPANY
               Answer was due on 11/29/2011 - No answer filed by the defendant.

11-1829        K-BAR, INC. V. JEFFERSON PARISH ET AL
               Summons issued August 2, 2011. No activity since August 2, 2011.
          Case 2:11-cv-01902-ILRL-ALC Document 9 Filed 02/14/12 Page 2 of 2



11-1902       CODY A. MELANCON, ET AL. V. GRETNA CITY, ET AL.
              No answer filed by defendant Gretna Police Department, no proof of svc. on same.

11-1930       GARY GOODLETT V. MED CATH INC. ET AL
              Summons returns for defendants Med Cath, Inc., and Health and Welfare Plan
              Committee filed on October 11, 2011 - both deficient.
              No corrected summons returns filed, and neither defendant has filed an answer to the
              complaint.

11-2004       TMT BULK CORPORATION V. CROSSBRIDGE SHIPPING SINGAPORE
              LIMITED
              Summons issued to defendant on August 16, 2011, no return filed in the record, and no
              answer to complaint filed by the defendant.

11-2160       RONALD KIBBE V. OASIS HORTICULTURAL SERVICES, INC., ET AL.
              No proof of service on defendants Oasis Horticultural Services, Inc., LSU Health
              Sciences Center, Board of Supervisors of Louisiana State University Medical Center,
              Metropolitan Health Group, Jefferson Parish Hospital District No. 1.

11-2256       BERNICE BAMBULIS V. PROTECTIVE LIFE INSURANCE COMPANY, ET
              AL. (Removed from State Court)
              Defendant Kemper Investors Life Insurance Company served with state court petition
              in August 2011.
              No answer filed by Kemper.

11-2377       SUZANNE ORR V. RICKMERS-LINE GMBH CIE., KG, ET AL.
              No proof of service on, and no answers filed by defendants Rickmers Reederei GmbH
              Cie. KG., MCC Marine Consulting & Contracting GmbH Cie. KG., MCC Rickmers.

11-2379       RAHMAD ALLEN V. METROPOLITAN LIFE INSURANCE COMPANY, ET
              AL.
              Metropolitan’s answer was due October 11, 2011 per Court order, rec. doc. no. 6.
              No answer filed as of this date.

11-2396       SEAN SAMUEL CLEMENTS V. EMPIRE SCAFFOLD, L.L.C., ET AL.
              Complaint filed on September 23, 2011.
              No proof of service upon, and no answers filed by defendants BW Offshore USA, Inc.
              and BW Offshore USA Management, LLC.

                     New Orleans, Louisiana, the 14th day of February, 2012



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                                                            UNITED STATES DISTRICT JUDGE


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